      Case 2:23-cv-01839-DJP-JVM Document 64 Filed 08/14/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 LOUISIANA STATE, ET AL                                 CIVIL ACTION

 VERSUS                                                 NO. 23-1839

 DEPARTMENT OF HOMELAND                                 SECTION: “P” (1)
 SECURITY, ET AL

                                           ORDER

      Considering the foregoing Consent Motion for a Telephone Status Conference (Doc. 59),

      IT IS ORDERED that the motion is GRANTED, and a telephone status conference is

hereby SET for Friday, August 18, 2023, at 2:00 p.m. (CDT).

      Dial-in information will be provided to all counsel of record prior to the conference.

      New Orleans, Louisiana, this 14th day of August, 2023.



                                            __________________________________________
                                                   DARREL JAMES PAPILLION
                                                UNITED STATES DISTRICT JUDGE
